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8    Attorneys for Plaintiffs Daniel Valenti
     and Henry Rodriguez
9

10                                  UNITED STATES DISTRICT COURT
11
                                 NORTHERN DISTRICT OF CALIFORNIA
12
     DANIEL VALENTI, Individually and On                   CASE NO.: 3:21-cv-06118-JD
13   Behalf of All Others Similarly Situated,
14                                                         NOTICE OF APPEARANCE
             Plaintiff,                                    OF KEVIN OSBORNE
15
     vs.
16
     DFINITY USA RESEARCH LLC, DFINITY
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     FOUNDATION and DOMINIC WILLIAMS,
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             Defendants.
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     Valenti v. Dfinity USA Research LLC, et al.                                     Case No. 3:21-cv-06118-JD
                                        Notice of Appearance of Kevin Osborne
             Case 3:21-cv-06118-JD            Document 119          Filed 08/07/23      Page 2 of 2



1    TO THE CLERK OF THE COURT, ALL PARTIES, AND THEIR COUNSEL OF
2    RECORD:
3            PLEASE TAKE NOTICE THAT Kevin Osborne, of the law firm Erickson Kramer
4    Osborne, LLP hereby appears in the above captioned matter as counsel for Plaintiffs Daniel
5    Valenti and Henry Rodriguez. Mr. Osborne is a member in good standing in the State Bar of
6    California and is admitted to practice before this Court.
7            Counsel requests that all pleadings, notices, and other filings to be served are directed to
8    the following address, telephone number, fax number, and/or email address:
9
             Kevin Osborne
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     Dated this 7th day of August 2023.         ____________________________________________
16                                              Kevin Osborne
                                                Attorneys for Plaintiffs
17                                              Daniel Valenti and Henry Rodriguez
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     Valenti v. Dfinity USA Research LLC, et al.                                     Case No. 3:21-cv-06118-JD
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